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                     IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION


 LA UNION DEL PUEBLO ENTERO, et al.,        §
      Plaintiffs,                           §
                                            §
 v.
                                            §   Case No. 5:21-cv-844-XR
 GREGORY W. ABBOTT, et al.,                 §
     Defendants.                            §
                                            §

                  STATE DEFENDANTS’ NOTICE OF APPEARANCE

      Defendants Gregory W. Abbott, in his official capacity as Governor of Texas;

Jane Nelson, in her official capacity as Secretary of State; Angela Colmenero, in her

official capacity as Provisional Attorney General of Texas; and the State of Texas (“State

Defendants”), file this Notice of Appearance to alert the Court that David Bryant (also

known as Monroe David Bryant, Jr.) will appear as counsel in the above-captioned case

along with counsel listed below. Mr. Bryant is a member in good standing with the State

Bar of Texas and is authorized to practice in the Western District of Texas. His contact

information is in the signature block below.
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Date: September 5, 2023            Respectfully submitted.

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                                   /S/ David Bryant
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                             CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed
electronically (via CM/ECF) on September 5, 2023, and that all counsel of record were
served by CM/ECF.

                                       /S/ David Bryant
                                       DAVID BRYANT
